  Case: 4:18-cv-00256-DDN Doc. #: 8 Filed: 08/22/18 Page: 1 of 12 PageID #: 45



                              UNITED ST ATES DISTRICT COURT
                              EASTERN DISTRICT OF MISSOURI
                                    EASTERN DIVISION

ALIREZA BAKHTIARI,                                 )
                                                   )
                Plaintiff,                         )
                                                   )
        V.                                         )            No. 4:18-cv-256-DDN
                                                   )
JAMES P. TOWEY, et al.,                            )
                                                   )
                Defendants.                        )

                                 MEMORANDUM AND ORDER

        This matter is before the Court upon the motion of plaintiff Alireza Bakhtiari for leave to

proceed in forma pauperis in this civil action. For the reasons explained below, the motion will

be granted, and this case will be dismissed.

                                 Legal Standard on Initial Review

        Under 28 U.S.C. § 1915(e)(2), the Court is required to dismiss a complaint filed informa

pauperis if, inter alia, it is malicious, or it fails to state a claim upon which relief can be granted.

An action is malicious when it is a part of a longstanding pattern of abusive and repetitious

lawsuits or it contains disrespectful or abusive language, In re Tyler, 839 F.2d 1290, 1293 (8th

Cir. 1988) (per curiam ), or it is undertaken for the purpose of harassing the named defendants

and not for the purpose of vindicating a cognizable right. Spencer v. Rhodes, 656 F. Supp. 458,

461-63 (E.D.N.C. 1987), aff'd 826 F.2d 1059 (4th Cir. 1987). When determining whether an

action is malicious, the Court need not look only to the complaint before it, but may also look to

plaintiffs prior litigious conduct. Cochran v. Morris, 73 F.3d 1310, 1316 (4th Cir. 1996).

        An action fails to state a claim upon which relief can be granted if it does not plead

"enough facts to state a claim to relief that is plausible on its face." Bell Atlantic Corp. v.

Twombly, 550 U.S. 544, 570 (2007). To determine whether an action fails to state a claim upon
  Case: 4:18-cv-00256-DDN Doc. #: 8 Filed: 08/22/18 Page: 2 of 12 PageID #: 46



which relief can be granted, the Court must engage in a two-step inquiry. First, the Court must

identify the allegations in the complaint that are not entitled to the presumption of truth.

Ashcroft v. Iqbal, 556 U.S. 662, 679 (2009).             These include "legal conclusions" and

"[t]hreadbare recitals of the elements of a cause of action [that are] supported by mere

conclusory statements." Id. at 678. Second, the Court must determine whether the complaint

states a plausible claim for relief. Id. at 679. This is a "context-specific task that requires the

reviewing court to draw on its judicial experience and common sense." Id.           The plaintiff is

required to plead facts that show more than the "mere possibility of misconduct." Iqbal, 556

U.S. at 679. The Court must review the factual allegations in the complaint "to determine if they

plausibly suggest an entitlement to relief." Id. at 681. When faced with alternative explanations

for the alleged misconduct, the Court may exercise its judgment in determining whether

plaintiffs proffered conclusion is the most plausible or whether it is more likely that no

misconduct occurred. Id. at 680-82.

       Pro se complaints are to be liberally construed, Estelle v. Gamble, 429 U.S. 97, 106

(1976), but they still must allege facts which, if true, state a claim for relief as a matter of law.

Martin v. Aubuchon, 623 F.2d 1282, 1286 (8th Cir. 1980).         The Court must weigh all factual

allegations in favor of the plaintiff, unless the facts alleged are clearly baseless. Denton v.

Hernandez, 504 U.S. 25, 32 (1992). Federal courts are not required to "assume facts that are not

alleged, just because an additional factual allegation would have formed a stronger complaint."

Stone v. Harry, 364 F.3d 912, 914-15 (8th Cir. 2004).

                                           Background

       In 2011, plaintiff was a pro se plaintiff who was prosecuting a civil lawsuit pending

before a United States District Judge in this Court. See Bakhtiari v. Al-Khaledy, et al., No. 4: 11-



                                                  2
    Case: 4:18-cv-00256-DDN Doc. #: 8 Filed: 08/22/18 Page: 3 of 12 PageID #: 47



cv-971-SNLJ (E.D. Mo. 2011).          He alleged that the defendants engaged in libel, breach of

contract, malicious prosecution, wrongful arrest, wrongful imprisonment, and other breaches of

duties. Plaintiff had also filed a previous defamation action. See Bakhtiari v. Missouri College,

No. 4: 1O-cv-1856-SNLJ (E.D. Mo. 2010). In both lawsuits, one of plaintiffs opponents was

represented by a St. Louis attorney who will be identified as B.H.

          In Bakhtiari v. Al-Khaledy, et al., B.H. filed a motion seeking to enforce discovery orders

that could lead to disclosures which would be damaging to plaintiff. As was revealed during

plaintiffs guilty plea in subsequent criminal proceedings, 1 in January of 2012, plaintiff emailed a

death threat to B.H. The email referred to B.H. in obscene and abusive terms. Attached to the

email were pictures of B.H. 's son and daughter-in-law that plaintiff had altered to impose rifle

crosshair graphics over their faces. Also attached were three pictures of B.H.'s home with the

name of B.H.'s wife in the file names, and a picture of a young girl plaintiff believed to be

B.H.'s daughter. A few days later, plaintiff threatened B.H.'s co-counsel by displaying a loaded

rife with a scope, and repeatedly referring to the rifle's crosshair in ominous terms. Plaintiff also

engaged in misconduct before the Court.            According to the Court's January 21, 2014

Memorandum, plaintiff defied a December 30, 2011 Court order to produce his electronic

devices for imaging, and then lied to the Court that he had complied.

          On March 12, 2012, plaintiff was indicted in this Court on felony charges.          US. v.

Bakhtiari, No. 4: 12-cr-97-ERW (E.D. Mo. 2012). On May 29, 2012, plaintiff filed a motion in

that criminal case, seeking to dismiss the indictment based upon government misconduct. In that

motion, plaintiff alleged that federal agents who were executing a search warrant at his residence

subjected plaintiff and his wife to hours of torture and sexual abuse.



1
    US. v. Bakhtiari, No. 4:12-cr-97-ERW (E.D. Mo. 2012)

                                                   3
  Case: 4:18-cv-00256-DDN Doc. #: 8 Filed: 08/22/18 Page: 4 of 12 PageID #: 48



       On August 7, 2012, plaintiff pleaded guilty to corruptly attempting to obstruct, influence

and impede an official proceeding in violation of 18 U.S.C. § 1512(c)(2). During his plea

proceedings, plaintiff admitted under oath that both of his civil lawsuits, Bakhtiari v. Al-Khaledy,

et al. and Bakhtiari v. Missouri College, were based upon entirely fabricated allegations. He also

admitted that he had threatened B.H. in order to frighten, intimidate and chill his advocacy

against plaintiff, and to potentially deter him from discovering that plaintiff had forged

documents on which the lawsuit was based. He also admitted that the allegations in his May 29,

2012 motion were false, and that he had made them solely to retaliate against the federal officers

and corruptly influence the proceedings in his criminal case.

       On November 19, 2012, plaintiff was sentenced to serve 51 months' imprisonment,

followed by three years of supervised release. In May 2013, the Eighth Circuit Court of Appeals

affirmed plaintiffs conviction and sentence. US. v. Bakhtiari, 714 F.3d 1057 (8th Cir. 2013).

In Bakhtiari v. Al-Khaledy, et al., the Court determined that plaintiff had engaged in various

forms of misconduct, and imposed monetary sanctions against him. The Court takes judicial

notice of these foregoing proceedings and public records. See Cravens v. Smith, 610 F.3d 1019,

1029 (8th Cir. 2010) (quoting In re Papatones, 143 F.3d 623, 624 n. 3 (1st Cir. 1998) ("The

court may take judicial notice of its own orders and of records in a case before the court"));

Stutzka v. McCarville, 420 F.3d 757, 760 n. 2 (8th Cir. 2005) (courts "may take judicial notice of

judicial opinions and public records.").

                     Plaintiff's Motion for Leave to Proceed In Forma Pauperis

       In support of his motion for leave to proceed in forma pauperis, plaintiff submitted a

Financial Affidavit, dated February 14, 2018. Therein, plaintiff avers that he has no income and

no assets whatsoever. He states he is not employed. He left blank a section of the Affidavit



                                                 4
  Case: 4:18-cv-00256-DDN Doc. #: 8 Filed: 08/22/18 Page: 5 of 12 PageID #: 49



soliciting information about the month and year of his last employment and monthly earnings.

He states he has received no income from, inter alia, "other sources" within the past 12 months.

Plaintiff avers he owns no real estate or any other item of value, and has neither cash on hand nor

money in a savings or checking account. Plaintiff avers that he has zero dollars in debts, and no

monthly bills. However, he states he has two minor children whom he actually supports.

       Review of Missouri Case.net, the State of Missouri's online docketing system, reveals

that, on February 3, 2018, the Metropolitan St. Louis Sewer District filed a request to garnish

plaintiffs wages to satisfy a January 23, 2012 judgment it obtained against him.               See

Metropolitan Sewer Dist. v. Alireza Bahktiari, No. 1222-AC19108 (22nd Jud. Cir. 2012). A

Garnishment Order was entered, and lists Supervalu, Inc. as the Garnishee. It specifies that it

seeks to garnish plaintiffs wages, and it lists the total amount of plaintiffs outstanding debt as

$1144.21. On February 5, 2018, garnishment was paid to the court. This Court takes judicial

notice of this public state record. See Levy v. Ohl, 477 F.3d 988 (8th Cir. 2007) (district court

may take judicial notice of public state records); Stutzka, 420 F.3d at 760 n. 2 (courts "may take

judicial notice of judicial opinions and public records.").

       The opportunity to proceed in forma pauperis is a privilege, not a right. Williams v.

McKenzie, 834 F .2d 152, 154 (8th Cir. 1987) (citing Startti v. United States, 415 F.2d 1115, 1116

(5th Cir. 1969)). The decision of whether to grant or deny in forma pauperis status under § 1915

"is within the sound discretion of the trial court." Lee v. McDonald's Corp., 231 F.3d 456, 458

(8th Cir. 2000) (internal citation omitted).

        In the case at bar, this Court has serious reservations about the veracity of plaintiffs

averments in the Financial Affidavit he filed in support of the instant motion. It appears that

plaintiff may have misrepresented his current employment status on his Financial Affidavit form.



                                                  5
  Case: 4:18-cv-00256-DDN Doc. #: 8 Filed: 08/22/18 Page: 6 of 12 PageID #: 50



Even if he was not employed on the date he completed the form, he failed to disclose to the

Court the month and year of his prior employment, and it appears he was employed during the

same month he filed the complaint and completed the Financial Affidavit. In addition, plaintiff

stated the amount of his debts as zero when it is apparent he has at least one outstanding debt.

Having noted these reservations, the Court will grant plaintiff leave to proceed in forma

pauperis, and will review the complaint pursuant to 28 U.S.C. § 1915(e)(2).

                                         The Complaint

       In the complaint, plaintiff describes a series of events that began in early 2010 and ended

in July of 2015. He alleges that, in 2010, defendants Wagner and Doe, Ladue police officers,

arrested him at a Barnes and Noble bookstore in Ladue, and detained and questioned him.

During the questioning, plaintiff told Doe and Wagner that he suffered from post-traumatic stress

disorder and needed to go home to take Xanax, but they did not allow that.            Wagner also

searched plaintiffs mobile phone over his objections.        Plaintiff was jailed overnight, and

released the following morning. Plaintiff states he requested and was refused medical care, $50

was missing from his wallet, and an officer offered to drive him home but dropped him off in an

empty lot instead. Plaintiff claims that four different "Doe" officers ignored his medical needs.

       A few days after he was released, plaintiff called the Ladue Police Department and spoke

to Wagner, and asked for a copy of the police report. Wagner told him that the investigation was

still underway.   Within the next year, plaintiff called Wagner numerous times, but Wagner

always told him that the investigation was underway. In early 2011, "the defendants issued

summons for plaintiff under Ladue municipal ordinance codes for 'disturbance of peace' and

'harassment."'    (Docket No. 1 at 12). Plaintiff claims the charges were "nothing but pretext

excuses covering up the unlawful arrest, imprisonment and abuse." Id.



                                                 6
    Case: 4:18-cv-00256-DDN Doc. #: 8 Filed: 08/22/18 Page: 7 of 12 PageID #: 51



        During the prosecution of the case, defendant Towey, the Ladue prosecuting attorney,

moved for continuances to permit further investigation, and refused to release copies of

documents. Plaintiff alleges that he "dutifully appeared for all of the hearings, which were

countless," that "the defendants" "boldly and blatantly" failed to respond to his discovery

requests, and that the "vicious persecution went on until May of 2015." 2 Id. at 15. On July 15,

2015, Towey dismissed the charges. Plaintiff alleges that Towey's only plan was to drag out the

litigation in order to assist the police officer defendants with the cover up, prevent plaintiff from

exercising his First Amendment right to bring a lawsuit, and increase the hourly fees he could

bill to Ladue. He also alleges that Towey disobeyed court orders.

        Plaintiff also alleges that the Ladue ordinances under which he was charged are vague

and overbroad. He claims that Ladue is liable for his injuries because it "knowingly facilitated

the conduct of its subordinates as alleged, approved them, condoned them, or turned a blind eye

for fear of what it might see. Ladue has an affirmative duty to train, supervise, or control the

actions of subordinates and it woefully failed in such duties which it owes to all citizens." Id. at

17. Plaintiff claims that what happened to him is one incident in a long string of similar actions

by Ladue and its police against racial and ethnic minorities, and Ladue turned a blind eye to this

pattern and therefore condoned and tacitly authorized it.

        Plaintiff claims that "[t]hroughout this whole persecution, the defendants violated some

clearly established statutory and constitutional rights that were owed plaintiff with clear

contours," and "the defendants crossed some clearly established lines in their actions, decisions

and omissions." Id. Plaintiff writes: "It would absurd and preposterous to think anything other

than persecution, racial animus, selective arrest, selective prosecution, malice, intense


2
 In November of 2012, plaintiff was remanded into federal custody to begin serving his 51-month prison
sentence.

                                                  7
  Case: 4:18-cv-00256-DDN Doc. #: 8 Filed: 08/22/18 Page: 8 of 12 PageID #: 52



xenophobia, retaliation and cover-up had been the underlying force for what defendants did to

plaintiff in this case." (Docket No. 1 at 19) (emphasis in original). Plaintiff claims he suffered

bodily harm, psychological injury, severe emotional distress, medical expenses, lost wages,

litigation costs, and humiliation, and he claims the span of five years cost him substantial

amounts in litigation costs, duress, physical harms, reputation harms, and more.         Plaintiffs

recitation of the facts in support of his claims brims with hyperbole, and plaintiff makes frequent

use of disrespectful language, mocking and ridiculing Towey and the law enforcement

defendants.

       Plaintiff sets forth 14 claims for relief, based upon state and federal law. For his federal

claims, he states the defendants violated his right to equal protection, engaged in retaliation in

violation of the First Amendment, engaged in conspiracy, violated his right to procedural due

process in that they arbitrarily and capriciously enforced vague ordinances, and engaged in

malicious prosecution. He also sets forth Monell claims against the City of Ladue. He states he

seeks a total of $3,500,000.00 in damages.

                                               Discussion

       Having reviewed and liberally construed the complaint, and having considered plaintiffs

shocking and longstanding pattern of abusive litigation before this Court, the Court is convinced

that the complaint is malicious, and subject to dismissal pursuant to 28 U.S.C. §

1915(e)(2)(B)(i). In the complaint, plaintiff uses disrespectful language, mocking and ridiculing

the defendants. See Jn re Tyler, 839 F.2d at 1293 (a finding of maliciousness is warranted where

the complaint contains disrespectful or abusive language). In addition, plaintiff has admitted to

filing two prior civil lawsuits that were malicious, and to filing a malicious motion in his

criminal case. See Horsey v. Asher, 741F.2d209, 212 (8th Cir. 1984) (an allegation the plaintiff



                                                 8
  Case: 4:18-cv-00256-DDN Doc. #: 8 Filed: 08/22/18 Page: 9 of 12 PageID #: 53



knows to be false is malicious, and a complaint containing only fabricated allegations is properly

deemed malicious). When an opposing counsel's motion threatened to expose plaintiff's deceit,

plaintiff threatened to kill members of counsel's family, and also threatened counsel's colleague.

He also flouted a Court order and then lied to the Court about it, and, as noted above, he lied to

the Court in his criminal case by filing a motion falsely accusing federal agents of torture and

sexual abuse. When determining whether an action is malicious, the Court need not look only to

the complaint before it, but may also look to plaintiff's prior litigious conduct. See Cochran, 73

F .3d at 1316 (plaintiff's past litigious conduct should inform the district court's determination of

whether an action is malicious); see also Carter v. Schafer, 273 F. App'x 581 (8th Cir. 2008)

(finding that a plaintiff's history of abusive litigation supported a determination of

maliciousness).

        As an alternate basis for dismissal, the Court determines that the complaint fails to state a

claim upon which relief may be granted, and is subject to dismissal pursuant to 28 U.S.C. §

1915(e)(2)(B)(ii). Any attempt by plaintiff to claim he was wrongfully denied medical care in

2010 would be time-barred. See Sulik v. Taney County, Mo., 393 F.3d 765, 766-67 (8th Cir.

2005) (citing Wilson v. Garcia, 471 U.S. 261, 276 (1985)). Towey is absolutely immune from

plaintiff's claims, as they all arise from his initiation and prosecution of a criminal case against

plaintiff.   Imbler v. Pachtman, 424 U.S. 409, 430-31 (1976) (holding that prosecutors are

absolutely immune from civil rights claims based on actions taken while initiating and pursuing a

criminal prosecution).    Plaintiff's allegations suggesting that Towey acted with an improper

motive do not defeat immunity. See Myers v. Morris, 810 F.2d 1437, 1448 (8th Cir. 1987)

(prosecutorial immunity extends even to allegations of vindictive prosecution); see also

Reasonover v. St. Louis County, Mo., 447 F.3d 569, 580 (8th Cir. 2006) (even if a prosecutor

knowingly presents false, misleading or perjured testimony, or withholds or suppresses


                                                  9
 Case: 4:18-cv-00256-DDN Doc. #: 8 Filed: 08/22/18 Page: 10 of 12 PageID #: 54



exculpatory evidence, he is absolutely immune from suit), Imbler, 424 U.S. at 427-28 (there is no

fraud exception to prosecutorial immunity). Plaintiff also alleges that Towey's actions were

taken in furtherance of a conspiracy with the police officer defendants. However, a prosecutor is

absolutely immune from a conspiracy charge when, as here, his alleged participation in the

conspiracy consists of otherwise immune acts. Reasonover, 447 F.3d at 580.

        Plaintiff also fails to state a viable claim against Wagner or Doe. Plaintiffs allegations

against them are wholly conclusory and speculative, and are therefore not entitled to the

presumption of truth.    See Iqbal, 556 U.S. at 678.       Even if plaintiffs allegations could be

presumed true, they suggest only the "mere possibility of misconduct," and would therefore fail

to state a plausible claim for relief. See id. at 679.   The fact that Towey ultimately dropped the

charges against plaintiff does not automatically yield the conclusion that plaintiffs arrest was

motivated by racial animus or class-based discrimination, or any other improper reason.          In

addition, elsewhere in the complaint, plaintiff states the defendants were enforcing Ladue

municipal ordinances, belying his assertion that he was arrested for no reason, or that his arrest

was based upon racial animus, class-based discrimination, or some other improper motive. See

id. at 680-82 (when faced with alternative explanations for the alleged misconduct, the Court

may exercise its judgment in determining whether plaintiffs proffered conclusion is the most

plausible or whether it is more likely that no misconduct occurred).

       Absent adequate allegations that a defendant's action was motivated by racial animus or

class-based discrimination, plaintiff cannot maintain a § 1985 conspiracy claim, see United Bhd.

of Carpenters, Local 610 v. Scott, 463 U.S. 825, 834-39 (1983), or a§ 1986 claim. See Mcintosh

v. Arkansas Republican Party-Frank White Election Committee, 766 F.2d 337, 340 (8th Cir.

1985) (a§ 1986 action is dependent upon the existence of a§ 1985 action). Plaintiffs claim that

Doe and Wagner detained him in retaliation for his anticipated exercise of his First Amendment

                                                  10
 Case: 4:18-cv-00256-DDN Doc. #: 8 Filed: 08/22/18 Page: 11 of 12 PageID #: 55



right to bring a civil lawsuit is nonsensical, and his claim of arbitrary and capricious enforcement

of vague ordinances wholly lacks factual support. Finally, because plaintiffs allegations fall

short of alleging the violation of a federally-protected right, his § 1983 conspiracy claim and his

Monell claims fail. Even if plaintiff had alleged the violation of a federally-protected right, his §

1983 conspiracy and Monell claims would fail because they are based upon wholly conclusory

allegations. See Burton v. St. Louis Bd. of Police Com'rs., 731 F.3d 784, 798 (8th Cir. 2013)

(setting forth the elements necessary to plead a claim for conspiracy under § 1983); see also

Spiller v. City of Texas City, Police Dept., 130 F.3d 162, 167 (5th Cir. 1997) (to plead an

actionable Monell claim "[t]he description of a policy or custom and its relationship to the

underlying constitutional violation ... cannot be conclusory; it must contain specific facts.").

       Because plaintiffs federal claims are subject to dismissal, the Court also dismisses all

remaining pendent state law claims. See 28 U.S.C. § 1367(c)(3).

       Accordingly, for all of the foregoing reasons,

       IT IS HEREBY ORDERED that plaintiffs motion for leave to proceed in forma

pauperis (Docket No. 2) is GRANTED.

       IT IS FURTHER ORDERED that this case is DISMISSED because it is malicious

and/or because it fails to state a claim upon which relief may be granted, pursuant to 28 U.S.C. §

1915(e)(2) (B)(i)-(ii). A separate order of dismissal will be entered herewith.

       IT IS FURTHER ORDERED that plaintiffs Pro Se Motion for Praecipe and Service of

Process (Docket No. 4) is DENIED as moot.

       IT IS HEREBY CERTIFIED that an appeal from this dismissal would not be taken in

good faith.              /Jd
        Dated thisc51J        day of August, 2018.



                                                 11
Case: 4:18-cv-00256-DDN Doc. #: 8 Filed: 08/22/18 Page: 12 of 12 PageID #: 56




                                      RONNIE L. WHITE
                                      UNITED STATES DISTRICT JUDGE




                                      12
